Case 1:17-cr-00101-LEK Document 852 Filed 02/02/20 Page 1 of 4                PageID #: 7469




                                MINUTE ORDER



 CASE NUMBER:            CRIMINAL NO. 17-00101(01) LEK
 CASE NAME:              United States v. Anthony T. Williams


      JUDGE:       Leslie E. Kobayashi

      DATE:        02/02/2020


COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S “SWORN
MOTION TO DISMISS”

       On January 25, 2020, pro se Defendant Anthony T. Williams (“Defendant”) filed
Defendant’s “Sworn Motion to Dismiss” (“1/25/20 Motion to Dismiss”). [Dkt. no. 806.]
Plaintiff the United States of America (“the Government”) filed its memorandum in
opposition to the 1/25/20 Motion to Dismiss on January 27, 2020. [Dkt. no. 818.] The
Court finds that the 1/25/20 Motion to Dismiss is suitable for disposition without a
hearing, pursuant to Local Rule 7.1(c).

I.    Request for Dismissal Based on Witness Tampering

        Defendant first argues the charges against him should be dismissed because the
Government tampered with one of his intended trial witnesses, Melvyn Ventura.
According to Defendant, after meeting with one of the Government’s attorney,
Mr. Ventura is no longer willing to testify in the defense case. [1/25/20 Motion to
Dismiss, Decl. of Counsel, Exh. A at 2 of 18 to 3 of 18.] According to the Government,
Mr. Ventura is one of the homeowners who were victims of the scheme that is the basis
for the charges against Defendant, and the Government has subpoenaed him to testify in
the Government’s case-in-chief. The Government states: it is not aware that anyone has
instructed or advised Mr. Ventura not to testify at trial; and its understanding is that
Mr. Ventura intends to testify at trial. Neither the Government’s attorneys nor the case
agent advised Mr. Ventura regarding Defendant’s subpoena to him, except to advise
Mr. Ventura to contact the person identified in the subpoena. [Mem. in opp. at 2.]

                    A federal court may dismiss an indictment for either:
             (1) constitutional error; or (2) under the exercise of its inherent
             supervisory authority, based on (with some limitations) its own
Case 1:17-cr-00101-LEK Document 852 Filed 02/02/20 Page 2 of 4            PageID #: 7470




             “procedural rules not specifically required by the Constitution or the
             Congress.” Bank of Nova Scotia v. United States, 487 U.S. 250, 254
             (1988) (internal citation and quotation marks omitted); see also
             United States v. Caruto, 663 F.3d 394, 397 (9th Cir. 2011). . . .

                     One ground for dismissal of an indictment for constitutional
             error is a due process violation based on outrageous government
             conduct, which requires that “defendants . . . show conduct that
             violates due process in such a way that it is so grossly shocking and
             so outrageous as to violate the universal sense of justice.” United
             States v. Stinson, 647 F.3d 1196, 1209 (9th Cir. 2011) (internal
             citation and quotation marks omitted). “The defense is therefore
             limited to extreme cases in which the government’s conduct violates
             fundamental fairness.” Id. (internal citation and quotation marks
             omitted).

United States v. Kealoha, CR. NO. 17-00582 JMS-RLP, 2019 WL 847729, at *1 (D.
Hawai`i Feb. 21, 2019) (some alterations in Kealoha).

       The Government admits that its attorneys have spoken to Mr. Ventura in its
preparation for its case-in-chief, but that is not enough to constitute prosecutorial
misconduct. The materials that Defendant submitted, including the affidavit by Rosy E.
Thomas and the purported email message written by Mr. Ventura, do not prove that the
Government tampered with Defendant’s witness. Although Mr. Ventura may have
changed his opinion about the merits of Defendant’s position, the Government’s
communication with Mr. Ventura, who is also one of the Government’s intended trial
witnesses, is not the type of outrageous conduct required to warrant dismissal for
prosecutorial misconduct. See Stinson, 647 F.3d at 1209. Moreover, if Mr. Ventura is
called as a Government witness, Defendant will have the opportunity to cross-examine
him, and this Court will also allow Defendant to ask Mr. Ventura questions that
Defendant would have asked Mr. Ventura if Defendant called Mr. Ventura during the
defense case. If the Government elects not to call Mr. Ventura, he can be compelled to
appear because he has been served with a subpoena. See Return of Service on Subpoena,
filed 11/4/19 (dkt. no. 630).

        Ms. Thomas’s affidavit states she “heard a recorded call on December 7, 2019,
published on YouTube from another witness of Mr. Williams who was contacted by a
man, who claimed himself from the U.S. Marshal, named Stan Salas, who threatened the
witness not to support Mr. Williams . . .” [1/25/20 Motion to Dismiss, Decl. of Counsel,
Exh. A at 9 of 18, ¶ 4.] The 1/25/20 Motion to Dismiss does not identify the other
witness, nor does it identify the YouTube recording. Thus, Defendant has failed to
establish the type of outrageous conduct required to warrant dismissal for prosecutorial
misconduct. Similarly, none of the other allegations in the 1/25/20 Motion to Dismiss
rise to the level of outrageous conduct warranting dismissal.
Case 1:17-cr-00101-LEK Document 852 Filed 02/02/20 Page 3 of 4                PageID #: 7471




      To the extent that the 1/25/20 Motion to Dismiss requests dismissal based on
Defendant’s allegation that the Government has tampered with his witnesses, the motion
is DENIED.

II.    Request for Dismissal Based on Discovery Violations

       Defendant also argues the charges against him should be dismissed because the
Government withheld discovery material from him until approximately three weeks
before trial. [1/25/20 Motion to Dismiss, Decl. of Counsel, Exh. A at 3 of 18.] This
argument is rejected for the reasons stated in the Government’s memorandum in
opposition, [mem. in opp. at 4-7,] and during the hearing on Defendant’s motion to
continue the trial. See Minutes, filed 1/29/20 (dkt. no. 836), at 1. To the extent that the
1/25/20 Motion to Dismiss requests dismissal based on alleged discovery abuses, the
motion is DENIED.

III.   Request for Dismissal Based on Double Jeopardy

       Defendant next argues the charges against him should be dismissed because they
violate his constitutional right against double jeopardy. [1/25/20 Motion to Dismiss,
Decl. of Counsel, Exh. A at 3 of 18 to 4 of 18.] Defendant previously raised this
argument in his July 20, 2018 “Sworn Motion to Dismiss Superseding Indictment”
(“7/20/18 Motion to Dismiss”). [Dkt. no. 294.] This Court denied the 7/20/18 Motion to
Dismiss in an order issued on October 1, 2018 (“10/1/18 Order”). [Dkt. no. 330.] This
Court expressly rejected Defendant’s double jeopardy argument. [10/1/18 Order at 21.]

         To the extent that the 1/25/20 Motion to Dismiss is a motion for reconsideration of
the 10/1/18 Order, it is untimely and could be denied on that basis alone. See Local
Rule LR60.1 (stating motions for reconsideration based on “[m]anifest error of law or
fact . . . must be filed and served within fourteen (14) days after the court’s order is
issued”). Moreover, Defendant’s 1/25/20 Motion to Dismiss does not identify any newly
available evidence or intervening change in the law since the 10/1/18 Order, and
Defendant has not established any manifest error of law or fact in the 10/1/18 Order. See
EO: Court Order Denying Def.’s “Motion in Opposition to Order Denying Private
Attorney General Anthony Williams Selective Prosecution Motion,” filed 11/27/19 (dkt.
no. 677), at 1-2 (quoting motion for reconsideration standard). Defendant’s mere
disagreement with the 10/1/18 Order does not warrant reconsideration. See Order
Denying Def.’s Motion for Reconsideration, filed 2/28/19 (dkt. no. 431), at 8 (quoting
Riley v. Nat’l Ass’n of Marine Surveyors, Inc., Civil No. 14-00135 LEK-RLP, 2014 WL
4794003, at *1 (D. Hawai`i Sept. 25, 2014)). To the extent that the 1/25/20 Motion to
Dismiss requests dismissal based on double jeopardy, the motion is DENIED.
Case 1:17-cr-00101-LEK Document 852 Filed 02/02/20 Page 4 of 4               PageID #: 7472




IV.    Remaining Issue and Summary

        Finally, Defendant argues that either this Court or one of the magistrate judges
must have criminal charges brought against the Government’s attorneys for witness
tampering. Initiating criminal charges is not the within the powers of the federal courts.
See United States v. Armstrong, 517 U.S. 456, 464 (1996) (“The Attorney General and
United States Attorneys retain broad discretion to enforce the Nation’s criminal laws.”
(citation and internal quotation marks omitted)). In the alternative, Defendant urges this
Court or one of the magistrate judges to report the alleged witness tampering to “the
proper authorities.” [1/25/20 Motion to Dismiss, Decl. of Counsel, Exh. A at 3 of 18.]
To the extent this Court has the discretion to make such a report, it declines to do so
because this Court has found that the Government did not tamper with Defendant’s
witnesses, and it is clear that Defendant, and others acting on his behalf, are willing and
able to make any reports of alleged witness tampering. See id. at 12 of 18 (email dated
12/8/19 form Rosy Thomas to internal.affairs@usdoj.gov). This portion of Defendant’s
1/25/20 Motion to Dismiss is therefore DENIED.

       Defendant’s 1/25/20 Motion to Dismiss is HEREBY DENIED in its entirety.

       IT IS SO ORDERED.



Submitted by: Theresa Lam, Courtroom Manager
